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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                  )
PAUL J. MANAFORT, JR.,                            )
                                                  )
                        Plaintiff,                )
                                                         Civ. No. 1:18-CV-00011-ABJ
                                                  )
                   v.                             )
                                                         Judge Amy Berman Jackson
                                                  )
UNITED STATES DEPARTMENT OF                       )
JUSTICE, et al.,                                  )
                                                  )
                        Defendants.               )
                                                  )


                                      NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Paul J. Manafort, Jr. hereby appeals to the United

States Court of Appeals for the District of Columbia Circuit from this Court’s order and

memorandum opinion in the above-captioned case, entered on the 27th day of April 2018 (Dkt.

Nos. 36, 37), granting Defendants’ motion to dismiss the Complaint, and from all rulings and

orders merged therein, and all other underlying or related orders, rulings, and findings.
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Dated:   June 25, 2018                     Respectfully submitted,
         Washington, D.C.
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                               CERTIFICATE OF SERVICE

        I hereby certify that on June 25, 2018, I electronically filed the foregoing Notice of

Appeal with the Clerk of the Court using the Court’s ECF system, which will send notice of this

filing to all parties.



                                                          /s/ Kevin M. Downing
                                                          Kevin M. Downing




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